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                                                                                FILED07,JAN'2011:31USiiC-ORP

   Pro Se I (Rev . 12/16) Complaint for a Civil Case



                                             UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of Oregon

                                                                  Portland Division


 ~i"LD~ ~ \~y l:.\ob1..\                                                    )       Case No .
 .+:: \ 1'.\;z   J7   I ;•       fL                                         )                     (to be filled in by the Clerk 's Office)
                                                                            )
                             I
                                Plaintiff(s)                                )
  (Write the full name of each plaintiff who is filing this complaint.
  If the names of all the plaintiffs cannot fit in the space above,
                                                                            )       Jury Trial, /dreck ,~)   ~ Yes          0 No
  please write "see attached" in the space and attach an additional         )
  page with the full list of names.)                                        )
                                       -v-                                  )
                                                                            )
                                                                            )

\JJr;!J'r,, ~
                                                                            )
                       WM-'+y G,f((~~h? \ J!J.Y.Jot-.~. •.4CS               )
                                Defendant(s)
  (Write the full name of each defendant who is being sued. If the
                                                                            )
  names of all the defendants cannot fit in the space above, please         )
  write "see attached" in the space and attach an additional page           )
  with the full list of names.)



                                                       COMPLAINT FOR A CIVIL CASE


  I.             The Parties to This Complaint
                 A.          The Plaintiff(s)

                             Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                             needed.
                                      Name
                                      Street Address
                                      City and County
                                                                             E; 'J            I  P§[?,= foctJ0r-t;µv \btvA h
                                      State and Zip Code
                                                                         Ore.tJ cnV\      q 1J-oq
                                      Telephone Number
                                      E-mail Address


                 B.          The Defendant(s)

                             Provide the information below for each defendant named in the complaint, whether the defendant is an
                             individual, a government agency, an organization, or a corporation . For an individual defendant,
                             include the person's job or title (if known) . Attach add itional pages if needed.


                                                                                                                                             Page I of 5
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                     Defendant No. 1
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if lcnown)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)        7
                                                                 r


                     Defendant No. 4
                                Name
                                                                                                                                  1
                                Job or Title (if known)          Che',± ~r.-.? lov--\..,<? Dt..t-,l-e,r / l-tt:c..J of-   t , rl\1 ~

                                Street Address                   , So tJ 1zL Ave_ it-;fOo ·
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



                                                                                                                   Page 2 of 5
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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S .C. § 1331 , a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                ~ederal question                                    D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for JurilcHction Is Divershy of Citizenship

                      1.        The Plaintiff(s)

                                 a.         lf the plaintiff is an individual
                                            The plaintiff, (name)    ~-z~e-\ Br~"""b                               ,is a citizen of the
                                            State of (name)    ~Q~~~.. ,. c-...,,.....,..V"
                                                                                         ____________

                                 b.         lf the plaintiff is a corporation
                                            The plaintiff, (name}   \ln\.,.~p G,..,--h,£«,~1~j               9   5, is incorporated
                                            under the laws of the State of (name)     +C>
                                                                                       ~ ~.........,~-~O~V\______ _ ______
                                            and has its principal place of business in theWate of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)      ~~_,_/.,.A, ______________ ,is a citizen of
                                            the State of (name)                 /                                Or is a citizen of
                                            (foreign nation)


                                                                                                                               Page 3 of 5
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                                 b.             If the defendant is a corporation
                                                The defendant, (name)                            l / / /+                                   ,is incorporated under
                                                the laws of the State of (n_a_m-e)_               _..,,.~,,-~ - - - - - - - - -                          ,   and has its

                                                principal place of business in the State of (name)
                                                Or is incorporated under the laws of (foreign nalion)
                                                and has its principal place of business in                     (name)


                                 (If more than one defendant is named in the complaint, attach an additional page providing the
                                 same information fo r each additional defendant.)

                        3.       The Amount in Controversy
                                   ~ t 1 _; @s            "'°'~ 'hH""'  7                        0
                                                                          th(l&11t::J1 &>_fQf 'i)1· h d"' d             h
                                 T e amount m controversy-t e amount e p m.nt1 c aims t e e1en ant owes or t e amount at
                                 stake- is more than $75 ,000, not counting interest and costs of court, because (explain}:
                                  D~ .\o M...,\-\.,'e                   yew?      of ('er6o
                                                                                        1
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III.       Statem ent of Claim
                                               - 6~               ~~v4--
          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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IV.        Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.
                                                  -         6eL         A-~~N~

                                                                                                 }
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11 , by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties With out an Attorn ey

                     I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk' s Office may result
                     in the dismissal of my case.


                     Date of signing:
                                                   -
                                                       f
                                                           j   I
                                                                   ]§!   I-J-2/..lo
                     Signature of Plaintiff
                     Printed Name of Plaintiff
                                                                   ~,@~
          B.          For Atto rn eys


                     Date of signing:


                      Signature of Attorney
                     Printed Name of A ttomey
                      Bar Number
                     Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




                                                                                                                       Page 5 of 5
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Statement of Claim section (Ill}
Since January of 2017 to currently the year of 2019 Washington County Corrections & Associates
meaning : Jail, Courthouse, Police, judge, District attorney' s office and Correctional Officers. Committed
acts of the following US Constitution violations, Civil rights Violations and hate crimes. Over 45,000 law
suits have been filed against Washington county corrections for civil rights and federal and state
constitution violations. I was subjected to multiple hate crimes and multiple violations of federal U.S.
constitutions. My under age kids that are still in grade school were effected. The U.S Supreme Court has
advised through the Special litigation Department in Washington D.C, and well as the United States
Department of Justice in Washington D.C has referred me to take action of a lawsuit financial
compensation. Referrer to the departments in regards to departments general info. Also The White
House staff has forwarded this issue to Federal Authorities due to I have to re-apply for another
Presidential pardon and due to it takes a couple years for review the charges still stand until Post-
Conviction relief or Appeal charges get turned over.

"Hate Crime" generally refers to criminal acts which are seen to have been motivated
by bias against one or more of the social groups listed above, or by bias against their
derivatives. Incidents may involve physical assault, damage to
property, bullying, harassment, verbal abuse or insults, mate crime or offensive graffiti or
letters (hate mail).!§
Examples of such groups can include, and are almost exclusively limited
to: sex, ethnicity. disability, language, nationality, physical appearance, religion, gender
identity or sexual orientation.) During 2016 to present 12/30/19 and beyond. Was harassed ,
subjected to verbal abuse and physical abuse based on my religion of "Messianic Jewish" and
practices of "Jewish Renewal" and my African American ethnicity. By Washington County
correctional officers , police officers and judges and district attorneys.

The Eighth Amendment to the United States Constitution states
that "cruel and unusual punishments [shall not be] inflicted." The general principles that
the United States Supreme Court relied on to decide whether or not a particular punishment
was cruel and unusual were determined by Justice William Brennan.~ In Furman v.
Georgia, 408 U.S. 238 (1972), Justice Brennan wrote, "There are, then, four principles by
which we may determine whether a particular punishment is 'cruel and unusual'."The
"essential predicate" is "that a punishment must not by its severity be degrading to human
dignity", especially torture."A severe punishment that is obviously inflicted in wholly
arbitrary fashion." (Furman v. Georgia temporarily suspended capital punishment for this
reason.)"A severe punishment that is clearly and totally rejected throughout society.""A
severe punishment that is patently unnecessary." I was subject to torture , by Washington County
Corrections & Associates , No change of clothes for weeks , Correctional officers spitting in my food ,
making races remarks . Making go to court with no shower, cuffing my wrists and ankles to the point
of bruising and bleeding. Subject to verbal abuse of hate speech 24hours a day no exaggeration .
Making me extreme mental pain and suffering to the point of emergency hospital even after let out of
jail. As well as continually violating me over and over again for 3 years in a row ruining my job , living
situation, ruining my education at Harvard University: Extension business programs as well as Mercy
Corps NW grants & Scholarships.

The Fifth and Fourteenth Amendments to the United States
Constitution each contain a due process clause. Due process deals with
the administration of justice and thus the due process clause acts as a safeguard from
arbitrary denial of life, liberty, or property by the government outside the sanction of
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SPECIAL LITIGATION SECTION CASES AND MATTERS


The Civil Rights Division of the Department of Justice, created in 1957 by the enactment of the Civil
Rights Act of 1957, works to uphold the civil and constitutional rights of all Americans, particularly some
of the most vulnerable members of our society. The Division enforces federal statutes prohibiting
discrimination on the basis of race, color, sex, disability, religion, familial status and national origin.

Since its establishment, the Division has grown dramatically in both size and scope, and has played a role
in many of the nation's pivotal civil rights battles. Division attorneys prosecuted the defendants accused of
murdering three civil rights workers in Mississippi in 1964, and were involved in the investigations of the
assassinations of Dr. Martin Luther King, Jr., and Medgar Evers. The Division enforces a wide array of
laws that protect the civil rights of all individuals.

ORGANIZATION

The Division is led by the Assistant Attorney General. Each Section of the Division is headed by a Section
Chief and several Deputy Chiefs and Special Legal or Litigation Counsels. The Division's leadership,
Section Chiefs, attorneys, and administrative staff are based in Washington, D.C.
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                                           U.S. Department of Justice
                                           Civil Rights Division

168-61-0/676434                            Special Litiga ti11n Section - PHB
                                           950 Pennsylvania A venue, NW
                                           Washington, DC 20530


                                           November 20 , 2019


Raziel Briah
650 NW Irving Street
Portl a nd, OR 97209-1272

Dea r Mr. Briah :

       Thank you for your letter. The Special Litigation Section
relies on information from community members to identify civil
rights violations.    Each week, we receive hundreds of reports of
potential violations. We collect and analyze this information
to help us select cases, and we may also use this information as
evidence in an existing case.    We will review your letter to
decide whether it is necessary to contact you for additional
in~ormation.    We do not have the resources to follow-up on every
lett e r.

     The Sp ecial Litigation Section is one of several Sections
in the Civil Rights Division. We work to protect civil rights
in four areas : 1) the rights of people in s ~ate or local
institutions, including:   jails, prisons, juvenile detention
facilities, and health care faci l ities for persons with
disabilities (including whether persons in health care
facilities should be getting services in the community instead);
2) the rights of people who interact with state or local police
or sheriffs' departments; 3) the rights of people to have safe
access to reproductive health care clinics or relig i ous
institutions; and 4) the rights of people to practice their
religion in state and local ins titutions.   We are not authorized
to address issues with federal facilities or fede r al off i cials.

     If your concern is not with in this Section ' s area of work,
you may wish to consult the Civi l Rights Division web page to
find the correct section:

       The Special Litigation Sect i on only handles cases that
arise from widespread problems that affect groups of people.                          We
do not assist with individual prcb lems.     We cannot help you
recover damages or any personal relief . We cannot assist in
criminal cases, includ i ng wrongful conviction s, appeals or
s e ntencing.

     If you have an indiv idual p rob l em or seek compensation or
some o t her form of personal reli e f, you may wish t o consult a
private attorney or a non-profit or legal aid organization for
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          assistance.  There are only two areas in which we can assist an
          individual or address a single incident:  1) we may be able to
          assist you if you are being prevented from practicing your
          religion in a prison, jail, mental hospital or other facility
          operated by or for a state or local government; 2) we may be
          able to assist you if you have experienced force or the threat
          of force when accessing a reproductive health care facility or
          religious institution.

               For more information about the Special Litigation Section
          or the work we do, pl~ase visit our web page:
          www.justice.gov/crt/about/spl/.


                                                      Sincerely,

                                                            /s/
                                                 Steven H. Rosenbaum
                                                    Sec:tion Chief
                                              Special Litigation Section




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Tracking Number: 7004 1160000405320096



Your item was delivered at 6: 04 am on October 7, 2019 in WASHINGTON, DC 20543.

Status

Delivered
October 7, 2019 at 6:04 am
Delivered
WASHINGTON, DC 20543

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Tracking History
October 7, 2019, 6:04 am
Delivered
WASHINGTON , DC 20543
Your item was delivered at 6:04 am on October 7, 2019 in WASHINGTON , DC 20543.




October 5, 2019, 11 :34 am
Available for Pickup
WASHINGTON , DC 20543




October 5, 2019, 11:19 am
Arrived at Unit
WASHINGTON , DC 20018




October 4, 2019
In Transit to Next Facility




October 2, 2019, 1: 15 am
Departed USPS Origin Facility
PORTLAND , OR 97215




October 1, 2019, 8:39 pm
Arrived at USPS Origin Facil ity
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law.ill The Supreme Court of the United States interprets the clauses broadly, concluding that
these clauses provide four protections: procedural due process (in civil and criminal
proceedings) Since January of 2017 to present Washington County & Associates including Family
Law violated my rights of due process causing pain & suffering to my kids that are both in grade
school these rights by introducing false evidence fake pictures and fake allegations of a gun and
false testimony to admitted as evidence ,rape , forged documents, and subjecting me to False
Imprisonment to hold me past time in attempt to file a grievance or lawsuit.



False Imprisonment occurs when a person intentionally restricts another person's
movement within any area without legal authority, justification or consent.ill Actual physical
restraint is not necessary for false imprisonment to occur. A false imprisonment claim may
be made based upon private acts, or upon wrongful governmental detention. For detention by
the police, proof of false imprisonment provides a basis to obtain a writ of habeas
corpus.rnunder common law, false imprisonment is both a crime and a tort. Do to the break in
due process and hate crimes committed against me I was subject to False imprisonment.

The Fourth Amendment to the US Constitution states, " The right
of the people to be secure in their persons, houses, papers, and effects, against
unreasonable searches and seizures, shall not be violated, and no Warrants shall issue,
but upon probable cause, supported by Oath or affirmation, and particularly describing
the place to be searched, and the persons or things to be seized."[i]Washington County &
Associates violated my rights by going through my cell phone and personal property without a
warrant in front of me in the booking room . As well as hooked my cellphone to a computer. As
well as did not have a search warrant. INVATION OF PRIVACY The right to privacy is an element
of various legal traditions to restrain governmental and private actions that threaten the privacy of
individuals.llll Over 150 national constitutions mention the right to privacy.

Pain and suffering is the legal term for the physical and emotional stress caused
from an injury (see also pain and suffering).
Some damages that might come under this category would be: aches, temporary and
permanent limitations on activity, potential shortening of life, depression or scarring. When
filing a lawsuit as a result of an injury, it is common for someone to seek money both in
compensation for actual money that is lost and for the pain and stress associated with
virtually any injury. In a suit, pain and suffering is part of the "general damages" section of
the claimant's claim, or, alternatively, it is an element of "compensatory" non-economic
damages that allows recovery for the mental anguish and/or physical pain endured by the
claimant as a result of injury for which the plaintiff seeks redress , Emotional trauma,
including post-traumatic stress disorder (PTSD) and depression, Bodily injury and its lasting
effects, Grief over the death of a loved one, Limitation of personal activities, Potential
shortening of life. My kids that are both in grade school and I suffered multiple counts of mental
suffering of all the listed conditions above as a direct result of Washington County Corrections &
Multnomah Family Law Court.

Gross negligence is the "lack of slight diligence or care" or "a conscious, voluntary
act or omission in reckless disregard of a legal duty and of the consequences to another
party."ill In some jurisdictions a person injured as a result of gross negligence may be able to
recover punitive damages from the person who caused the injury or loss . Washington county
Corrections by ignoring the alleged victims self-admitted claims on the stand of saying she poisoned
me, chocked me , Hit me, and said she was going to shoot me. Also attempts of police reports were
done on Bounthvy Bonkhong & Siri Overstreet and Saphouen ouk . Even reports to Homeland
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security AS OF TODAY NOTHING HAS BEEN DONE EVEN WITH POLICE REPORTS AND
MUTIPLE ATTEMPS OF A RESTRAINING ORDER.




Defamation of Character & Libel and Slander (sometimes known as calumny, vilification,
or traducement) is the oral or written communication of a false statement about another that
unjustly harms their reputation, and usually constitutes a tort or a crime.c1 1 In several
countries, including South Koreac 21 and Sweden,£31 communicating a true statement can also
be considered defamation. Under common law, to constitute defamation, a claim must
generally be false and must have been made to someone other than the person
defamed.C41 Some common law jurisdictions also distinguish between spoken defamation,
called slander, and defamation in other media such as printed words or images, called libel
Multiple accounts due to the false charges that are still undergoing appeal and Post-Conviction
Relief. My business reputation and six figure job opportunities have been ruined to the point of
People of stature and power have questioned me and have lost business deals with my company
Silicon valley Global as a direct result.


RELIEF
I AM ASKING THE AMOUNT DUE TO THE STAEMENTS OF CLAIM ON SECTION DECRIPTION
(Ill). Loss of Multiple hundred thousand dollar careers. Business losses from Silicon Valley Global a
tech start up that is legally a micro company. Loss of multiple apartments and living situations since
2017. Subjected me to torture. Knowingly and willingly ruining me over the course of 3 years. My
kids parenting time and custody was ruined effecting the safety and welfare of my children as well as
child endangerment. Multiple counts of gross negligence. As per case in appeal alleged victim said
they poisoned me, choked me and said she was going to shoot me nothing happened and held me
in prison past the date to get a restraining order constituting a break in due process . Also the other
cases were appealed and thrown out. I filled in U.S Supreme court in Washington D.C and attached
paperwork saying the special litigation team advised to take legal action . Also attached is a letter
from the White House stating the matter has been forwarded to federal authorities. Also the U.S.
Supreme Court has reviewed the case and advised me to the special litigation section to do a
lawsuit seeking financial compensation was advised from the U.S Supreme Court. However the
issues have been going on non-Stop for multiple years and the only person "charged " was me the
tortured victim of subjected hate crimes. I live in Multnomah County and was charged in
Hillsboro court as well as my custody hearing was ruined due to I was in out of jurisdiction at the
time of judgment. My business reputation and my ability to get jobs and a Presidential pardon was
ruined as well as my both my under age kids were affected. Remedy is that Washington County
police and correction officers undergo mandatory cultural training to better handle people from
minority backgrounds to deal with racial profiling and new code of ethics. Also deportation of non-
United States citizens that continually took part in the suffering of my two kids . As well as the above
amount financial compensation of 7 million dollars.
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CENTRAL CITY
CONCERN
HOMES HEALTH JOBS


Old Town Clinic
727 W Burnside Portland , OR 97209-3514
(503) 228-4533 Fax: (503) 228-4618

12/12/2019


Raziel Briah
650 NW Irving St
Portland , OR   97209


To Whom It May Concern :

Raziel Briah is an established patient of ours at Old Town Clinic and at Old Town Recovery
Center.

He struggles with post traumatic stress disorder and anxiety disorder. These diagnoses result in
hypervigilance and agitation when triggered in certain environments. He is seen and treated for
these conditions on a routine basis. Please consider this when reviewing his case.

Please do not hestitate to contact me with any questions about this request.


Sincerely,

Tracy Dodge PA-C
Bridges Team #971-404-7318
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        ✓

                                ·,

                    WASIIlNGTON COUNTY                                               NUMBER
            DEPARTMENT OF COMMUNITY CORRECTIONS                                      305
                                                                                     EFFECTIVE
                           POLICY AND PROCEDURE .                                    08-15-99
                                   POLICY:
                         '
                               . GRIEVANCES                                          PAGE1OF2



POLICY

If a client or citizen believes that he or she has been treated unfairly through misapplication of a
rule or condition, oversight, or a failing within ~he system of the Department of Community
Corrections, then the client or citizen has the right to pursue a grievance. All reasonable means
will be taken to investigate and resolve client and citizen grievances.

Clients or citizens will not be subject to reprisal for pursuing a grievance.

AUTHORITY

Washington County Executive Authority

PROCEDURE

1.       Client Grievance

         A.        At the time of initial intake, the client shall receive information regarding client
                   grievance procedures. The information shall include procedural steps and explain
                   the following:                                              ·

                   I.     That the client will ,not suffer reprisals for proceeding in-a lawful and
                         -reasonable manner to utilize the procedure.

                   2.     That it shall be the responsibility of the client to discuss his/her grievance
                          with the assigned staff or supervisor/team leader, in a timely manner, to
                          resolve issues or conflicts.                            .

                   3.     That if the grievance is not resolved by-Step 2 and the client wishes to
                          pursue the grievance, the client must submit the grievance in writing to the
                          supervisor/team leader of the staff person responsible for service or    _
                          supervision of the client, within a reasonable period of time following the
                          problem or circumstances of concern to the client. .

                   4.     That the supervisor/team leader will respond in writing or verbally to the
                          client within ten (10) working days following the receipt of the grievance.

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                    5.     If the grievance is not resolved using Steps 1-4, the client may submit a
                           grievance to the Assistant Director who will respond within ten (I 0)
                           working days.

         ·B.        Grievance Information

                    The written grievance submitted by the client to the supervisor/team leader must
                    include at least the following information:

                    1.     Client name, legal status, address, and telephone number.

                    2.     A description of the circumstances on which the grievance is based.

                    3.     The nature of the grievance.

                    4.     The recommended action.

          C.        Staff Process

                    l.     If a grievance is submitted to the supervisor/team leader, he/she will notify
                           the affected staff person that a grievance has been filed and the nature of ·
                           the grievance, unless there is reasonable evidence to believe a crime has
                           been committed.

                    2.     The supervisor/team leader will provide a copy of the written response to
                           the client, the staff person, and the Assistant Director.

                    3.     If the client files the grievance with the Director or Assistant Director, the
                           Director or Assistant Director will notify and provide a written copy of the
                           grievance to ·t he supervisor/team leader and the affected staff person,
                           unless there is reasonable evidence that a crime has been committed. Toe
                           response of the Director/Assistant Director will be provided in writing to
                           the client, the supervisor/team leader, and the staff person.

                    4.     A copy of all written responses will be forwarded to the Assistant Director
                           who will maintain a file.

2.       Citizen Grievances

         A.        All citizen complaints regardmg the Departnierit and/or employee(s) shall be
                   reported to the sW-fperson's immediate supervisor/team leader who shall inform
                   the Assistant Director. The Director/designee may assign specific staff to
                   investigate and report back to the Director within a reasonable timeframe. All
                   citizen complaints will be carefully considered and a response will be provided.by
                   the Director or his designee within thirty (30) days of receipt of the complaint
                   Complaints will be resolved at the lowest level, whenever possible.

         B.        Any written materials generated, including a copy of the complaint, findings from
                   the investigation, and the response of the Department will be placed on file.
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                              GRIEVANCE/COMPLAINT RESPONSE FORM


                   □ . Citizen Complaint
) ( Client Grjevance                           Date:       Cf /Jf// 1
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. Telephone: Home{503JYf)-                   18~                 Wo,r k=-------'------
. Client Involved:      B6t.~ e, \     '3n'   1A ~                        PM,~1s1 &50 A)i..,v .ltv.'~ ~J
                   )G        Telephone .     )f    In Perso~ In Writing               H,rf-"-'~f°Y2            &f7~'{
 Nature of Grievance/Complaint:

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 Grievance/Complaint Form
 Page2

 Requested/Recommended Action:

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·P.O. Comments/File Information:




Action Taken: .

0         Resolved (see comments below)
D        Written grievance/complaint'requested
         Note: Client grievance m:ust be based upon one or more of the following:
D         1. Contrary to law or established Department/Washington County policy;

D        2. Based upon irrelevant or mistaken information;
0        3. Even thou¢1 lawful, was unreason~ble or unfair.
Coniments:




                     Copy: Staff Member    Supervisor File     Administrative File


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                                                                                         Corporation/Limited Liability Company - Information Change
                   •    Secretary of State - Corporation Division - 255 Capitol St. NE, Suite 151 - Salem , OR 97310-1327- sos.oregon .gov/business - Phone: (503) 986-2200
                                                       Please Type or Print Legibly in Black ink. Attach Additional Sheet if Necessary.                     Fax:     (503) 378-4381

                                                                                                                                                                     Print Form
 REGISTRY NUMBER:             1514123
                             -----------
           ENTITY TYPE:         r   DOMESTIC       r     FOREIGN                                                                                                    Reset Form
In accordance with Oregon Revised Statute 192.410-192.490, the information on this application is public record .
We must release this information to all parties upon request and it will be posted on our website .                                                                For office use only
 1. NAME OF CORPORATION OR LIMITED LIABILITY COMPANY:

    SILICON VALLEY GLOBAL
                                                          Complete only the sections that you are updating.
 2. BUSINESS ACTIVITY                                                                  6. ADDRESS WHERE THE DIVISION MAY MAIL NOTICES:
    DIGITAL MARKETING & BUSINESS CONSULTING                                                              N/A PAPERLESS NOTICES PLEASE
    APP DEVELOPMENT ON APPLE & ANDRIOD                                                                   E-MAIL OR CALL
 3. PRINCIPAL PLACE OF BUSINESS: {Street Address)                                                   7. THE NEW REGISTERED AGENT HAS CONSENTED TO THIS
                                                                                                       APPOINTMENT.
    1455 NW IRVING ST. SUITE#200
                                                                                                    8. THE STREET ADDRESS OF THE NEW REGISTERED OFFICE
    PORTLAND OR,97209                                                                                  AND THE BUSINESS ADDRESS OF THE REGISTERED AGENT
                                                                                                       ARE IDENTICAL.
 4. THE REGISTERED AGENT HAS BEEN CHANGED TO:                                                            The entity has been notified in writing of this change.
                                                                                                    9. INDIVIDUAL WITH DIRECT KNOWLEDGE (Names and Addresses)
    N/A                                                                                                List the name and address of at least one individual who is a director, or controlling
                                                                                                       shareholder of the corporation (member or manager of the LLC) or an authorized
 5. REGISTERED AGENT'S PUBLICLY AVAILABLE ADDRESS:                                                     representative with direct knowledge of the operations and business activities of
     Must be an Oregon Street Add ress, wh ich is identical to the                                     the corporation or LLC.
     registered agent's office.
                                                                                                        N/A
    1390 MARKET ST. SUITE#200
                                                                                                        ONE ROCKEFELLER PLAZA, 10TH FLOOR
    SAN FRANCISCO, CA 94102
                                                                                                        NEW YORK CITY, NEW YORK, 10020
 10. NAME(S) AND ADDRESS(ES)OF CORPORATE OFFICERS OR LLC MEMBERS/MANAGERS
                       Corporations list the name and address of one President and one Secretary (ORS 60.787, ORS 65 .787, ORS 62.455, ORS 554.315).
                       Limited Liability Companies list the name and addresses of the managers for a manager-managed limited liability cotnpany or the name and address
                       of at least one member for a member-managed limited liability company (ORS 63 .787). Please attach a separate sheet of paper if needed.
                       If making changes to this section, list all current names and addresses. This replaces what is currently on the record.
     PRESIDENT OR OWNER(S) (MEMBERS):                      (Names and Addresses)                        SECRETARY OR MANAGER{S): (Names and Addresses)

     RAZIEL BRIAH : OWNER/C.E.O                                                                          N/A

     ADDRESS: (N/A} NOT FOR PUBLIC




 11. EXECUTION : I declare as an authorized signer, under penalty of perjury, that this document does not fraudulently conceal, obscure,
 alter, or otherwise misrepresent the identity of any person including officers, directors, employees, members, managers or agents. This
 filing has been examined by me and is, to the best of my knowledge and belief, true, correct and complete. Making false statements in
 this document is against the law and may be penalized by fines, imprisonment, or both .

 SIGNATURE:                                                                          PRINTED NAME:                                                   TITLE:

                                                                                     RAZIEL BRIAH                                                    MR.


   CONTACT NAME: (To resolve questions with this filing)                                      FEES
    RAZIEL BRIAH                                                                              No Processing Fee
    PHONE NUMBER: {I nclude area code)
                                                                                              Free copies are available at sos.oregon.gov/business using the Business Name Search program.
    425-610-0560 / 971-238-4633

     Information Change 12/17)
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How Much Can You Expect to Spend on SEO? If you are hiring a top-level SEO company to
execute a local campaign , expect to pay $500+ per month. A national or international campa ign
will requ ire a minimum budget of $2 ,500 to $5,000 month .

n average SEO expert charges between $80 and $130 per hour. Further, the average
monthly retainer lies somewhere between $750 and $1500 per month. Performance-
based SEO is free to start, and has dynamic pricing .

Giving a rough answer to how much it costs to create an app (we take the rate of $50 an hour
as average) : a basic application will cost around $25,000. Medium
complexity apps will cost between $40,000 and $70,000. The cost of complex apps usually
goes beyond $70,000.Jan 24, 2019 Wh ile typical cost range stated by app
development companies is $100,000 - $500,000. But no need to panic - small apps with few
basic features could cost between $10,000 and $50,000, so there's an opportunity for any type
of business.


  One-Time SEO                                             $1,000 to $100,000+

  SEO Audit                                                $1,000 to $100,000+

  Local SEO                    per month                          $250 to $5,000+




  SEO (Hourly)                 per hour                                 $50 to $700+

     Please note that these are general guidelines when it comes to pricing. Each SEO agency
     has their own version of pricing, and service packages. If you are wondering whether the
     pricing you have received is fair (and makes sense) feel free to contact whatisseo.com for
     an assessment.

                                  presented by whatisseo.com
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Dear Raziel ,

 Congratulations, your Free Application for Federal Student Aid (FAFSA®) form
 was processed successfully on 12/03/2019.
                           What you should do next
· Review your SAR. Your SAR is a summary of the information you provided on
your FAFSA form ; it is not your financial aid offer. Log in to fafsa.gov with your
FSA ID to review your SAR.

· Submit additional financial aid applications/documentation to your
school(s). Some states and schools require supplemental financial aid applications
if you'd like to be considered for state and/or school financial aid programs . Visit the
financial aid section of your school's website to determine if there is additional
documentation you must provide to apply for these programs, and be sure to submit
any required documentation by the stated deadline.

· Apply for as many scholarships as you can. This will help you limit the amount
of money you may need to borrow to pay for school. Learn how to find and apply
for scholarships.

· Wait for financial aid offers. You will receive a financial aid offer from each
school you listed on your FAFSA form once you are accepted for admission at that
school. Review your financial aid offer to determine which financial aid you'd like
to accept. If you 've applied to several schools, be sure to compare aid offers to
see which school will be the most affordable. Each school has its own schedule for
sending out financial aid offers . Contact your school's financial aid office to find out
when you will receive your financial aid offer.

   Note: If you need to change the information you provided on the FAFSA form
   (to add a school , for example) , log in to your FAFSA form and select "Make
   FAFSA Corrections."
                                      Questions

   If you have questions, visit StudentAid.gov/fafsahelp.

  Thank you ,

   U.S. Department of Education
   Federal Student Aid
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 arvard:Schoo·


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Your DCE ID number is:            !etQ-1
Use this DCE ID (include the@ as the first character) together with your DCE PIN to
access Online Services. If you do not know your DCE PIN , request it here.

IMPORTANT: You may use your DCE ID and DCE PIN combination only to access
Online Services. It will not provide access to any other Harvard website.

This request was generated via the Harvard Extension School Online Services ID
request system . If you did not initiate this request or if you have questions about this
information, please contact the Registrar's Office at (617) 495-4024.

Thank you for using Harvard Extension School Online Services.
